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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


IN RE: EpiPen (Epinephrine
       Injection, USP) Marketing,                   MDL No: 2785
       Sales Practices and Antitrust
       Litigation                                   Case No. 17-md-2785-DDC-TJJ


(This Document Applies to the Class Cases)


______________________________________


                               MEMORANDUM AND ORDER

       This matter is before the Court on Mylan’s Motion to Compel Compliance with

Subpoena Directed to Non-Party The Segal Group, Inc. (ECF No. 1375). Mylan seeks an order

requiring non-party The Segal Group, Inc. (“Segal”) to identify custodians likely to have

information relevant to Mylan’s subpoena and to search for and produce email communications

from those custodians. Segal opposes the motion. As set forth below, the Court will grant

Mylan’s motion.

I.     Relevant Background

       On October 10, 2018, Mylan served a document subpoena on Segal. Segal timely

responded, posing objections to each of the fourteen requests but also agreeing to produce certain

responsive documents. Since that time, the parties have engaged in email communication and

met and conferred on November 6, November 27, and December 18, 2018. Asserting it has not

provided services for the Local 282 Welfare Trust Fund related to EAI products, Segal has

refused to search for or produce email communications from its employees regarding EAI
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products. Mylan and Segal represent, and the Court finds, that they have complied with the

requirements of D. Kan. R. 37.2.

II.       Summary of the Parties’ Arguments

          Mylan argues Segal improperly refuses to identify custodians who possess or can identify

documents responsive to the subpoena. Mylan asserts the email communications it seeks are

relevant, Segal’s boilerplate objections are invalid, and Segal has failed to meet its burden to

show compliance would cause undue burden.

          Segal insists the email communications Mylan seeks are irrelevant, as Mylan admits that

Segal never provided advice to or services for the Local 282 Welfare Fund related in any way to

EAI products, including EpiPen. Segal also asserts the subpoena is unreasonable and unduly

burdensome because it seeks information Mylan has obtained from other sources and over an

extended period, and has cost Segal time and money. Segal stands by its objections. If the Court

grants Mylan’s motion, Segal asks that any email search be limited to three of its employees it

identifies as those most likely to have emails related to pharmacy benefits and the 2013 selection

of CVS/Caremark as Local 282’s PBM service provider, and for an award of costs.

III.      Legal Standard

          In issuing a subpoena, a party must “take reasonable steps to avoid imposing undue

burden or expense on a person subject to the subpoena.”1 Non-parties responding to Rule 45

subpoenas generally receive heightened protection from discovery abuses.2



1
    Fed. R. Civ. P. 45(d)(1).
2
 XPO Logistics Freight, Inc. v. YRC, Inc., No. 16-mc-224-CM-TJJ, 2016 WL 6996275, at *3
(D. Kan. Nov. 30, 2016) (citing Speed Trac Techs., Inc. v. Estes Exp. Lines, Inc., No. 08-212-
KHV, 2008 WL 2309011, at *2 (D. Kan. June 3, 2008)).

                                                  2
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          Federal Rule of Civil Procedure 45 governs both motions to compel compliance with and

motions to quash a subpoena served on a non-party.3 Under Rule 45(d)(2)(B), if the entity

commanded to produce documents serves written objections to the subpoena, the serving party

may seek compliance by filing a motion to compel production of the documents. If the non-

party wishes to challenge the subpoena, it does so by filing a motion to quash. Rule 45(d)(3) sets

forth circumstances under which a court must quash or modify a subpoena, including when the

subpoena “requires disclosure of privileged or other protected matter, if no exception or waiver

applies,” and when the subpoena “subjects a person to undue burden.”4 The rule also allows a

court discretion to quash or modify a subpoena that requires the disclosure of a “trade secret or

other confidential research, development, or commercial information.”5

          “The scope of discovery under a subpoena is the same as party discovery permitted by

Fed. R. Civ. P. 26.”6 In other words, the relevancy standards set forth in Rule 26 define the

permissible scope of a Rule 45 subpoena. Relevancy is to be “construed broadly to encompass

any matter that bears on, or that reasonably could lead to other matter that could bear on” any

party’s claim or defense.7 Information still “need not be admissible in evidence to be




3
 The Non-Parties have not filed a motion to quash the subpoena in this or any other federal
district court.
4
    Fed. R. Civ. P. 45(d)(3)(A).
5
    Fed. R. Civ. P. 45(d)(3)(B).
6
 In re Syngenta AG MIR 162 Corn Litig., MDL No. 2591, No. 14-md-2591-JWL, 2017 WL
1106257, at *16 (D. Kan. Mar. 24, 2017) (citing Schneider v. CitiMortgage, Inc., No. 13-4094,
2014 WL 4749181, at *2 (D. Kan. Sept. 24, 2014)).
7
    Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978).

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discoverable.”8 When the discovery sought appears relevant, the party resisting discovery has

the burden to establish the lack of relevancy by demonstrating that the requested discovery (1)

does not come within the scope of relevancy as defined under Fed. R. Civ. P. 26(b)(1), or (2) is

of such marginal relevancy that the potential harm occasioned by discovery would outweigh the

ordinary presumption in favor of broad disclosure.9 Conversely, when the relevancy of the

discovery request is not readily apparent on its face, the party seeking the discovery has the

burden to show the relevancy of the request.10 Relevancy determinations are generally made on

a case-by-case basis.11

IV.       Relevancy

          Mylan points out that Plaintiff Local 282 Welfare Trust Fund is the only Plaintiff health

plan in this case, thereby making Local 282 the sole purported representative of a putative class

that includes thousands of health plans and payors. Accordingly, to fulfill its need to learn more

about whether Local 282 suffered the harms Class Plaintiffs allege and its fitness to serve as an

appropriate class representative,12 Mylan is trying to inform its understanding of the

communications between Local 282 and PBMs. As the entity through which Local 282



8
    Fed. R. Civ. P. 26(b)(1).
9
    Gen. Elec. Cap. Corp. v. Lear Corp., 215 F.R.D. 637, 640 (D. Kan. 2003).
10
     McBride v. Medicalodges, Inc., 250 F.R.D 581, 586 (D. Kan. 2008).
11
  Brecek & Young Advisors, Inc. v. Lloyds of London Syndicate, No. 09-cv-2516-JAR, 2011 WL
765882, at *3 (D. Kan. Feb. 25, 2011).
12
  Mylan describes the information responsive to its subpoena as “clearly relevant to, among
other issues, whether Local 282 suffered any injury due to Mylan’s actions, what a reasonable
damages model may look like, whether Local 282 is adequate to serve as a class representative,
and whether its claims are atypical of those of the rest of the class.” ECF No. 1375 at 9.

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communicates, negotiates, and contracts with PBMs, Mylan issued a subpoena to Segal to obtain

documents relating to Segal’s communications with Local 282 and with the PBMs. Segal

maintains that because it has never provided services to Local 282 related to EAI products,

which Mylan does not dispute, it could not possess emails that are “remotely relevant to this

lawsuit.”13

         The Court finds the relevancy of the requested information is readily apparent. Segal

does not dispute the testimony from Local 282 that identified Segal as the sole means through

which Local 282 communicates, negotiates, and contracts with PBMs. As such, each of the

thirteen requests at issue seeks information that bears on or could lead to other matter that could

bear on Mylan’s defenses.14 Indeed, Segal has produced some documents responsive to the

requests, drawing the line only at identifying ESI custodians and conducting searches of those

custodians’ emails.

         In its response to Mylan’s motion, Segal asks that if the Court requires it to conduct an

email search, the search be limited to three Segal employees who primarily communicated with

the PBMs regarding Local 282’s 2013 selection of CVS/Caremark as its PBM, and to

specifically exclude from its scope John Urbank, its lead individual on the Local 282 account.15

In so doing, Segal seeks to substitute its views of relevancy for the applicable legal standard.

The Court finds Mylan’s request that Segal identify ESI custodians of the information requested




13
     ECF No. 1401 at 4.
14
  Mylan brings this motion only with respect to subpoena Request Nos. 2-14. See ECF No.
1375 n.2.
15
     Id. at 8. The employees are Matthew Ahearn, Ritu Malhota, and Lisa Kearney.

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by the subpoena is appropriate as a means of obtaining information and documents relevant to

Mylan’s defenses.

V.          Undue burden and other objections

            As the Court has noted, the scope of discovery under a subpoena is the same as party

discovery permitted by Rule 26.16 Thus, while the Court recognizes that “[c]ompliance with a

subpoena inevitably involves some measure of burden to the producing party, . . . the court will

not deny a party access to relevant discovery because compliance inconveniences a nonparty or

subjects it to some expense.”17 As with Rule 26 discovery, one objecting to a subpoena has the

burden to show compliance would cause undue burden, typically by presenting an affidavit or

other evidentiary proof of the time and expense involved in responding to the subpoena.18

            Segal asserts that Mylan’s request for emails is unduly burdensome because of the time

and expense it would incur in conducting a search. Segal presents an affidavit from John

Urbank, a Vice President and the primary point of contact for Segal’s work with the Local 282

Welfare Fund, approximating he has 4,000 or more emails with that fund dated between January

1, 2009 and the present, and that attorney fees would cost $9,000 per 10,000 emails reviewed and

a search and review process could take months.19 Segal extrapolates those numbers to




16
     In re Syngenta, 2017 WL 1106257, at *16 (citing Schneider, 2014 WL 4749181, at *2).
17
  Ficep Corp. v. Haas Metal Eng’g, Inc., No. 14-243-CM, 2015 WL 566988, at *3 (D. Kan.
Feb. 11, 2015) (citations omitted).
18
     Id.
19
     ECF No. 1401-1.

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encompass searches of other custodians’ emails and estimates a search would take two months or

more and cost approximately $22,000.

          Segal also argues that the date range Mylan proposes—January 1, 2009 to the present—is

unduly burdensome because this Court did not require Express Scripts to produce documents

prior to 2013.

          The Court finds Mr. Urbank’s affidavit speculative and lacking in evidentiary proof that

identifying and collecting the subpoenaed emails would result in the costs it projects or take the

length of time it estimates.

          Regarding the time frame for the subpoena, the Court finds it of no consequence that

Express Scripts was subject to different requirements in responding to a subpoena served on it in

this case. Instead, the issue is whether the proposed time is appropriate for this subpoena,

measured by relevance. Mylan is seeking information relevant to its defenses to Class Plaintiffs’

claims. As Class Plaintiffs state in their Consolidated Class Action Complaint, they “seek to

recover damages and overpayments from at least 2009 through the present.”20 In their class

allegations, they define the proposed national class as “[a]ll persons or entities in the United

States and its territories who purchased and/or paid for some or all of the purchase price for

EpiPen(s), for consumption by themselves, their families, or their members, employees, insureds,

participants or beneficiaries, other than for resale,’ and the class period as “January 1, 2009

through and until the anticompetitive effects of defendants’ unlawful conduct cease.”21 These

allegations provide sufficient justification for the temporal scope of the subpoena.



20
     ECF No. 60 ¶9.
21
     Id. ¶516.

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       Segal also objects to producing documents that Mylan can obtain from elsewhere. In

addition to this being an improper objection to a subpoena, the Court rejects Segal’s unsupported

assertion that every email requested by the subpoena calls for discovery Mylan can otherwise

obtain. Segal is not in a position to know what other parties will produce, nor whether a

particular document may differ in version or have additions or omissions when coming from two

different sources.

VI.    Costs

       Segal asks the Court to order Mylan to pay the costs of compliance if the Court grants the

motion to compel. Although Segal has not submitted an affidavit in support of its request, it

states it has incurred more than $20,000 in legal fees responding to the subpoena. The Court’s

policy is to deny cost-shifting in the absence of evidence sufficient to demonstrate that

compliance will impose undue expense on the producing party. “[T]he court will not deny a

party access to relevant discovery because compliance inconveniences a nonparty or subjects it

to some expense.”22 In this instance, the Court will hold in abeyance its ruling on costs until

Segal submits an affidavit setting forth the time and expense it has incurred in responding to the

subpoena.

       IT IS HEREBY ORDERED that Mylan’s Motion to Compel Compliance with

Subpoena Directed to Non-Party The Segal Group, Inc. (ECF No. 1375) is granted. Within five

business days of the date of this order, Mylan shall deliver to Segal a reasonable list of proposed

search terms. Within five business days of its receipt of the list, Segal shall advise Mylan




22
   Booth v. Davis, No. 10-4010, 2011 WL 2008284, at *7 (D. Kan. May 23, 2011) (citing EEOC
v. Citicorp Diners Club, Inc., 985 F.2d 1036, 1040 (10th Cir. 1993)).

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whether it agrees to the terms. If it does not, Segal shall explain the reasons for its disagreement.

If necessary, Mylan and Segal shall confer and, if they are unable to reach agreement, no later

than March 20, 2019, Mylan shall advise the Court and the Court will convene a telephone

conference to resolve the matter.

         IT IS FURTHER ORDERED that following the resolution of search terms, The Segal

Group, Inc. shall (1) search the emails of John Urbank, (2) identify which Segal employees

served as the main points of contact with Local 282 and communicated with PBMs on Local

282’s behalf, and (3) search and produce responsive materials from those custodians within a

reasonable time.

         IT IS FURTHER ORDERED that if The Segal Group, Inc. intends to pursue its request

for costs in connection with responding to the subpoenas, it shall submit an appropriate affidavit

with supporting documents no later than 10 business days after it has fully complied with this

order.

         IT IS SO ORDERED.

         Dated this 28th day of February, 2019 in Kansas City, Kansas.



                                                          Teresa J. James
                                                          U. S. Magistrate Judge




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